Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 1 of 14




                              UM TED STATES DISTRICT COUX T
                              SOUTH ERN DISTRICT O F FLO RIDA
                                             ' ïf -z o-4-7-2
                                     chss $ 0.                                    ..




     UNITED STATES O F AM RRICA

     VS.

     JER OM E ALLEN :

                  Defendant.
                                          l

                                       PLEA AGREEM ENT

           TheUnitedStatesofAmerica,byandthrough'th'
                                                   eFraud Sectionofthe'criminalDivision
     ofthe Departm entofJustice and the United StatesAttorney'
                                                             .s Office forthe SoutbenlD istrictof

     Flotida(hereinafterreferredtoasthe'tunitedStates'),andJeromeAllen(hereillafterrefel-redto
     astheS'Defendant''
                      ),enterintothefollowingagreement:'
                  TheDefendantagreesto plead guilty to theInfol-
                                                               m ation. '
                                                                        l'he Infor
                                                                                 'm ation charges

     theDefendantwith: onecountofmoneylaundel'irtg,
                                                  'inviolatlonofTitle18,United StatesCode,
                                                      '
                                                  ,

     Section 1957,which m akesit a federaloffense to ldlow ingly engage orastemptto engage in a
     monetary transaction affectinginterstatecom m ercethatinvolvidproceeds'ofa'specifiedulllaw ful

     activity namely,a wire fraud conspiracy,lulowing thatth6 transaction exceeded $10,000 and
     represented theproceedsofsom e fol.
                                       m of'
                                           unlawfulactivity.

                   The Defendant is aware that thc sentence willbe imposed by thr Court. The

     Defendant mlderstands and agrees that federalsentencing law requires the Courtto impose a

     sentence that is reasonable and that thc Com-t must consider the United States Sentencing
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 2 of 14




     GuidelinesandPolicy Statements(hereinafterthedssentencingGuidelincs'')indetel-miningthat
     reasonable sentence. The Defendantacknowledges and understandsthatthe Courtwillcompute

     an advisory sentence underthe Sentencing Guidelinesand thatthe applicable gtlidelineswillbe

     detmm hledby the Courtrelying in parton theresultsofapresentence investigation by the United

     StatesProbationOfâce(tprobation''),whichinvestigationwillcommenceaftertheguiltypleahas
     bcenentered.TheDefendantisalso awarethat,undercertain circum stances,theCoul-tm aydepal'
                                                                                            t

     from the advisory Sentencing Guidelinesrange thatithascomputed,and m ay raise orlowerthat
     advisory sentence under the Sentencing Gnidelines. The Defendant is further aware and

     understandsthatwhiletheCom'
                               tisl-equiredtoconsidertheadvisoryguidelinerangedeiermined
     undertheSentencing Guidelines,itisnotbound to im pose thatsentence. D efendantunderstands

     thatthefactsthatdetel-mine theoffense levelwillbefound by the Courtatthe tim e ofsentencing

     and thatirlm aking those detez-
                                   m inationstheCoul4m ay considerany rcliable evidence,including

     hearsay,aswellas theprovisions or stipulationsin thisPlea Agreement. The United States and

     tlleDefendantagreeto rccom m endthatthe SentencingGuidelinesshould apply pursuantto Uhited

     Statesv.Booker,thattheSentencingGuidclinçsprovideafairandjustresolutionbasedonthe
     facts ofthis case,and that no upward or downward departures am approptiate other than the
     reductions foracceptance ofl'
                                 esponsibility. TheCourtisperm itted to tailortheuitim ate sentence

     in lightOf other statutory concerns,and such sentence m ay be eitherm ore severe or lesssevere

     thatx.the Sentencing Guidelines' advisory sentence. Knowing these facts, the D efendant

     understandsand aclm owledgesthattheCoul'thastheauthorityto imposeànysentencewithin and
     up to the statutoly m axim um authorized by law fortheoffenseidentified in paragraph 1 and that

     theDefendantm ay notwithdraw thepleasolely asa resultOfthe sentence im posed.
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 3 of 14




                  The Defendantalso understands and aclm owledgesthatas to thc offepse charged

    in theTnfonnation,the Com-tm ay imposea statutory maximum term ofilnprisonm entofupto ten

     (10)years. I11addition toanyperiod ofimprisonmenttheCourtmay also impose@periodof
    supelvised release of up to three (3)years to commence atthe concl.
                                                                      usion ofthe period of
     imprisonm ent. In addition to a term of im prisonm ent and supervised release,the Coul-tm ay
                                                                         .




    imposeafineofuptothegreaterof$250,000,pursuantto 18U.S.C.j3571(b)(3),orY icethe
    pecuniarygainfrom theOffense,pursuantto 18U.S.C,j3571(d),
           4.     The Defendantfurther understands and acknowledgesthat,in addition to any
     sentence im posed.underparagraph 3 6fthis Agreem ent,aspecial.assessm entin thetotalam ount

     of$100.00willbcimposed o11theDefendant.ThcDefendantagreesthatanyspecialassessment
     imposed shallbcpaid atthetim eofsentencing.

                  TheDefendantrecognizesthatpleading guiltym ayhaveconsequenceswith l-espect

     to the Defendant's imm igration statsiftheD efendantisnotanahtral-born citizen oftheUnited
     States. Underfederallaw,a broadrange ofcrim esare rem ovable offenses,including the offense

     to which the D efendant is pleading guilty. In addition, under cellain circllm stances,

     denaturalization m ay also be a consequence of pleading guilty to a crim e. Rcm oval,

     denaturalization,and otherimmigration consequencesarethesubjectofasepmrateproceeding,
     however,and D efendantunderstandsthatnoone,including theD efendant'sattonAey orthcCourt,

     can predictto a certainty the effectofthe Defendant'sconviction on theDefendant'simm igration

     stattu. The Defendantneverthelessaffinnsthatthe Defendantchoosesto plead guilty regardless

     ofany imm igration consequencesthattheD efendant'spleam ay entail,even iftlle consequenceis

     theDefendant'sdenaturalization and autom aticrem ovalfrom theUnited States.
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 4 of 14




            6.     The D efendantshallcooperate with law enforcem entofficials,attolneys with the

     United StatesDepal-tm entofJustice and United StatesAttom ey'sOffice forthe Southelm District

     ofFlorida,andwith federalregtllatoryofficialschargedwith regulating oroverseeingtheM edicare

     program by providing full,com plete and truthftzlinfolnnation regarding his knowledge,conduct

     and actionswhile itwolved in fraud and by providing activecoopel'ation in ongoing ùw estigations

     ifrequested to do so. tfcalled upon to do so,tlle Defendantshallprovide com plete and tmthful
                                                    '
                       .



     testimonybeforeanygrandjury.01,trialjuryinanycriminalcase,inanycivilproceedingortrial,
     and in any adlninistrative proceeding orhearing. In cal-
                                                            rying ouihis obligationsunder this
     pat-agraph Defendant shatl neither minim ize his own hw olvement nor fabricate,m inimize or
     exaggerate theinvolvem entofothers. lftheD efendantintentionally provides any incolnpleteor

     untnzthft
             zlstatem entsortestimony,hisactionsshallbedeem ed am aterialbreach ofthisAgreem ent

     and theUnited States shallbe freeto pursue a1lappropriatc chargesagainsthim notwithstandhlg

     any agreem ents to forbearfrom bringing additionalchargesagm ay be othelv ise setforth in this

     Agreem ent.
                   TheDefendantshallprovidttheProbation Office and counselfortheUnîted States

     with a 1 11, complete and accurate personal financial statem ent- If the D cfendant provides '
     incolnpleteoruntm thfulstatem entsin hispersonalfinancialstatement,hisaction shallbe deemed
                                                                                        .




     am aterialbreach ofthisAgreem entand theU nited Statesshallbe free to pursue a1lappropliatc

     charges againsthim notwithstanding any agreem ents to forbearfrom bringing additionélcharges

     othel-wisesetfol-t
                      .
                      h in thisAgrcement.
            8.     Provided thatthe Defendantcomm its no new criminaloffenses and provided that

     he continues to delnonstrate an affirm ative recognition and affh-
                                                                      m ative acceptance ofpersonal


                                                    4
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 5 of 14




     responsibility for his criminal conduct, the Uuited States agrees that it will recomm end at
     sentencing thatthe Defendant receive a three-levelreduction for acceptance of responsibility

     pursuantto Section 3E1.1 ofthe Sentencin.
                                             g Guidelines,based upon the Defendant'srecogl
                                                                                         zition
     and afthm ativeand tim ely acceptanceofpersonall'esponsibility.TheUnited States,how ever,will

     notberequiredtomakethissentencingrecommendationiftheDefendant:(.
                                                                    1)fàilsorrefusesto
     m ake a full, accurate and com plete disclosure to the United States and Probation of the

     circumstancessul-
                     roundingtherelevantoffenseconductandhispresentfmmhcialcond.ition;(2)is
     found to have m isrepresented factsto theU nited Statespriorto enterihg this.PleaAgreem ent;or

     (3)commitsanymisconductafterenteringilltothisPleaAgreement,incladingbutnotlimitçdto
     com mitting a state orfederaloffense,violating any term ofrelease,cjrm alting falsestatem eatsor
                                         .



     lnisrepresentationsto any govelmm cntalentity orofficial.
            9.     TheUnited Statesreservestherightto inform the Coul-tand Probation ofallfacts

     pertinentto the sentencing process,including a11 relevantillfbnnation concem ing the offenses

     com mitted,whether charged ornot,as wellas concenling the Defendallt and the Defendant's

     background.Subjectonlytotfheexpresstennsofallyagreed-uponsentencingrecommendations
     contained in this Plea Agreem ent,the United States fadher reserves thc light to m alte any

     recomm endation asto the quality and quantity ofpunishm ent.
            10.    The United States reserves the right to evaluate the:nature and extent of the

     Defendant's'cooperation and to m ake the Defendant'scooperation,orlacltthereof,ltnown to the

      Coul-
          tatthetimeofsentellcing.lfi11thesoleandumeviewablejudgmentoftheUnitedStatesthe
     D efendallt'scooperation isofsuch quality and signifcanceto theinvestigation orprosecution of

      othercrim inalm attersasto wan-
                                    anttheCout-t'sdownw ard departurefrom thesentence advisedby
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 6 of 14




     the Scntencing Guidelines,the United Statesm ay atorbeforesentencing m ake am otion pursuant

     toTitle18,UnitedStatesCode,Section3553($,Section5K1.loftheSentencingGuidelincs,o1'
     subsequent to sentencing by motion pursuant to Rule 35 of the Federal Rules of Crim inal

     Procedure,reflecting thattheDefendanthasprovided substantialassistance alld recom m ending a

     sentence reduction, The D efendant acknowledges and agrees,however,that nothing in this

     Agrcementmaybeconstl-
                         uedtorcquiretheUnitedStatestofilesuch amotionand thattheUnited
     States' assessm ent of the nam re) value, truthfuhzess, completeness, and accuracy of the

     Defendant'scooperation shallbebinding on the Defendant.

                   TheDefenàantunderstandsandaclcnowledgesthattllecourtisundernoobligation
     tograntamotionbytheUnitedStatespursuantto'-fitle'18,UnitedStatesCode,Section3553(e),
     5K 1.1 of the Sentencing Guidelines orRule 35 ofthe FederalRules Of CriminalProcedure,as

     referred to in paragraph t1 ofthisAgreem ent,should the United Statesexercise its discretion to

     Iile such am otion.
                   Based on the foregoing,the United States and the Defendantagree that,although

     notbinding on Probation orthe Court,theywilljointly recolmnend thatthe Courtimpose a
     sentencew ithin the advisory sentencing guidelinerangeproduced by application oftheSentenczg

     Guidelines.AlthoughnotbindingonProbation ortheCoult theUnitedStatesalldtheDefendant
     ftu-theragree that,exceptasothe- ise expressly contemplated in thisPlea Agreement,they will

     jointly recommend that the Courtneither depal-t upward 1401, depart downward under the
     Sentencing Guidelines when determ ining the advisory Sentencing Guideline range in this case.

     Further,theUnited Statesand theDefcndantagree,althougllnotbinding on Probation ortheCoul't,

     thatthereareno factorsorcircumstanceswhich would suppol-torotherwise suggestthepropriety


                                                   6
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 7 of 14




     oftheCoulfstindingofanyvarianceunderTitle 18,UnitedStatesCode,Section3553(4.The
     parties agreethat,atthe tim e ofsentencing,the United States willreoom mend a sentence atthe

     low end ofthe Sentencing Guidelines. The partiesful-ther agree that,pursuanlto Section 5B1.1,

     the applicable offense levelis in Zone B of the Sentencing Table and therefore a sentence of

     probation m ay be authorized if the court imposes a condition or com bination of conditions

     requiring intermittelltcolo nement,com munityconfinement,orhome detention.

            13.    TheUnited Statesand theDefendaptagree that,although.hotbinding on Probation

     orthe Court,they willjointly recotmrend thatthe Courtmake the following fmdingsand
     conclusions asto the sentenceto be im posed:

            (a)    BaseOffenseLevel:Thatthebaseoffenselevelistwelve(12),pursuanttoSection
                   2S1.l(a)(1),becausetheoffenselevelfortheunderlyingoffensefrom whichthe
                   launderedftmdswerederivedis'
                                              twelve(12),andiscalculatedusingthefollowing
                   Sentencing Guidelines:

                          Underlying OffenseBaseOffenseLevel:Thatpursuantto284.1(a),the
                          baseoffenselevelfortheunderlyingoffenseiseight(8)'
                                                                           .
                          ValueoftheUnlawft
                                          zlPaym entto Defendant:Thatthe offenselevelofthe

                          underlying ôffense shall be increased by four (4) levels pursuantto
                          284.1(b)(1)(B) and 281.1(b)(1)(C),bccause the vatue ofthe unlawful
                          paymenttoDefendantexceeded $15,000butdid notexceed$40,000.
            (b)    Soecifc Offcnse Characteristics:Thatthe Defendant's offense levelwill bc
                   increasedbyone(1)levelpursuanttoSection251.1(2)(A)becausethectmviction
                   isunderTitle 18,United StatesCode,Section 1957.
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 8 of 14




           TOTAL OFFEN SE LEVEL - UNADJUSTED

                  Acceptance of Responsibilitv: That the D efendant's offense level shall be

                  decreasedbytwo(2)levelspursuantto Sections3E1.1(a)becausetheDefendant
                  hasdem onstrated acceptance ofresponsibility forhisoffense.

           TOTAL OFFEN SE LEVEL - ADJUSTED

           (d)    Fine:Thatafineshouldbeimposedon theDefendantintheamountofatleast
                  $202,000,
           14.    The D efendant acknow ledgts and understands that additional or different

     enhancem entsorprovisionsofthe Sentencing Guidelinesm ightbeapplicable,andthatneitherthe

     CourtnorProbationareboundbytheparties'jointrecommendations.
                  TheD efendantltaow illgly andvoluntarily agreestd theentry ofaforfeiturem oney

    judgmentagainsthim intheamountof$18,000(the%'ForfeitureMoneyJudgmenf),whichequals .
     the am oun.
               tinvolved in theconductcharged in Cotm t1oftheInfonoation.TheDefendantagrees

     to satisfy theForfeimre M oney Judgmentpriorto sentencing.
            16.   The Defendantl
                               m owingly and voluntarily agrees to waive hisrightto a hearing,

     pursuanttoFed.R.Crim,P.32,2(b)(1)(A),todeterminetheamotmtoftheForfeitureMoncy
     Judgment. Ful-thermore,theDefendantlcnow ingly and voluntarily agreesthathe shailnot,in any
     malm er,actinopposition totheUnited Statesinseeking entry and fullsatisfaction oftheForfeiture

     M oney Judgment.
                   TheD efendantlcnowingly and voluntarily agreestow aivethefollowing rightsw ith

     respectto the entry ofthe Forfeiture M oney Judgm entand/orfine againsthim :
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 9 of 14




                   (a)       A11constitutional,legal,dndequitabledefensesto suchforfeiture and/or
     fine;

                   (b)       Anyconstitutionalorstatutorydoublejeopardydefenseorclaim regarding
     such forfeitureand/orfine;
                             Any claim ordefenseto such forfeittlre and/orfine broughtorraisedtmder

     theEighth Amendm entto the United StatesConstim tion,hAcluding,butnotlim ited to,any claim

     ordefensc ofexcessive fm e;and
                         .




                   (d) Anyl'
                           ighthemayhaveto an appealofally resultingorderofforfeittlre
     regardingtheForfeitureM oney Judgmentorto the fineimposed by the Coul't.

             18.   TheDefendantalso agreesto assistthisOfticein al1proceedings,adm inistrativeor

     judicial,involvingforfeimreto theUnitedStatesofanyproperty,includingsubstitutepropel-ty,
     regardless of its nature orfol-m,real or personal,which the Defendant or others ltnown to the

     Defendant,have accum ulated as a result of illegal activities. The assistance shall include:

     identificationofanypropertysubjecttoforfeiture,agreementtotheentryofanorderenjoiningthe
     transferorencum branceofsuch property,and the trallsferofsuch property to theUnited Statesby

     delivery to thisOffice upon thisOffice'srequest,any necessary and appropliate documentation,

     including consentsto forfeiture and quitclaim deeds,to delikergood and m arketabletitleto such

     propel-ty,
                   In furtherance ofthe collectitm ofthe Forfeiture M oney Judgm ent,fine,and/ora

     restitutionjudgment,theDefendantagreestothefollowing:
                   (a)       TheDefendantagreestomakefu11andaccuratedisclosureofhisfinancial
     affairs to the Uaited States Attonzey's Office and U .S. Probation Office. Specifically, the


                                                     9
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 10 of 14




     Dcfendant agrees that within 10 calendar days of the signing of this Plea Agreem ent, the

     DefendantshallsubmitacomplctedFinancialDisclosureStatement(form providedbytheUnited
     States),andshallfully discloseandidentifya1lassetsinwhichhehasanyinterestand/orover
     which the Defendaptexercises control,directly or indirectly,including those held by a spouse,

     nom inee,orotherthird party. The Defendantagreesto provide,in a tim ely m alm er,allûnallcial

     infolm ation requested by theUnited StatesAttonzey'sOfficeand U .S.Probation Oftice,andupon

     request,to meetin person to identify assets/m onieswhich can be used to satisfy the Forfeitare

     MoneyJudgment,fine,and/ortherestimtionjudgment. J41addition,theDefendantexpressly
     authorizestheUnited StatesAttorneyls Officeto obtain acreditreport.

                   (b)     TheDefendantagreesthathewillnotsell,hide,waste,encumber,destroy,
     or otherw ise devalue any assetuntil the Forfeimre M oney Judgment,sne,and his restim tion

     judgmentispaid in fullwithoutpliorapprovalofthegovelmment. TheDefendantshallalso
     identifyanytransferofassetsvaluedi11excessof$5,000sincethedateofhisJnformationorwhen
     hebecam e aware ofthe criminalinvestigation,including the identity ofthe asset,the valueèfthe

     asset,the identity ofthe third party to whom the assetwastransfen-ed,and thecurrentlocation of

     theasset.

                   (c)     The Defendant agrecs to cooperate fully in the ilwestigation and the
     identification of assets to be applied toward forfeim re,fine,altd/orrestitution. The D efendallt

     agreesthatproviding false orincom plete infol-
                                                  m ation abouthisfinancialassets,orhiding,selling,

     transferrihg or devaluing assets and/or failing to coopel.ate fully in the ilw estigation and

     identificationofassetsmaybeused asabasisfor:(i)separateprosecution,including,under18



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Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 11 of 14




     U.S.C.j1001;orUi)recommendationofadenialofareductionforacceptanceofresponsibility
     pursuantto SentencingGuidelinesj3EI.I.
                   (d)    TheDefendantfurtheragreestoliquidateassets,orcompleteanyothertasks
     which willresult in im m ediate paym ent of the Forfeiture M oney Judgment,fine,and/or the

     restittltionjudgmentin 111,orfullpaymentintheshortestamountoftime,asrequestedbythe
     government.

                          The Defendantshallnotify,within 30 days,the Clerk ofthe Courtatld the

     UnitedStatesAttorney'sOfficeof:(i)anychangeofname,residence,prmailingaddress,and(ii)
     anym aterialchangei11cconom iccircum stancesthataffectstheability to pay theForfeitureM oney

     Judgm ent,fine,restitution.

            20.    TheDefendantaclœ ow ledgesthatbecausetheoffensesofconviction occurredafter

     April24,1996,restimtion ismandatorywithoutregard to theDefendant'sabilitytopayand that
     the Courtm ust order the Defendantto pay restitution for the full loss caused by his crim inal

     conductpursuantto Title 18,United States Code,Section 3663A,provided,how ever,thatthe

     value ofany property forfeited shallbe crcdited againstany orderofrestitution.

                   TheD efendantisawarethatthesentencehasnotyetbeen determ ined bytheCourt.

     TheDefendantis also aware thatany estim ate ofthe probable sentencing range orsentence that
     theDefendantm ay receive,whetherthatestim atecom esfzom theDefendant'sattonley,theUnitcd

     States,or the Probation Office,is a prediction,nota promise,and is not.binding on the United
     States, the Probation Office or the Coul't. The D èfendant undel-
                                                                     stands ftu-thel' that any

     l'ecom m endation thatthe United Statesm akesto the Courtasto sentencing,whetherpursuantto

     this agreem ent or othelw ise,is not binding on the Cou14 and the Court m ay disregard the
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 12 of 14




     recomm endatiollin its entirety, The Defendantunderstands and acknowledges,as previously

     acknowledged inparagraph 2 above,thattheDefendantm ay notwithdraw hispleabased upon the

     Court'sdecision notto accepta sentencing recomm endation m ade by the Defendant,the United

     States,orarecommendationmadejointlybyboththeDefendantandtheUnitedStates.
            22,    TheDefendantisawarcthatTitle 18,United StatesCode,Section 3742 affordsthe

     Defendanttherightto appealthesentenceimposed in thiscase.Aclm owledgingthis,in exchange

     for the undertaltings m ade by the United States i11 this plea agreem ent,the Defendant hereby

     waives aI1 rigbts conferred by Section 3742 to appeal any sentence im posed, including any

     forfeiture,fine,orrestimtion ordered,orto appealthem annerin which the sentence wasimposed,

     tmless the sentence exceeds the m aximum pel-mitted by statute or is the result of an upward

     depat-
          ture and/ora valiance 9om the guidelinerangethatthe Cout'
                                                                  test@blishesatsentenchlg. In

     addition to the foregoing provisions,theDefendantllereby waivesal1rightsto argue on appealthat

     the statute to which the Defendantis pleading guilty is unconstittltionaland thatthe admitted

     conductdoesnotfallwithin the scope ofthe stamte. TheDefendantful4lwrunderstands that

     nothingin thisagreem entshallaffecttherightofthe United Statesand/oritsduty to appealasset

     fol-thinTitlel8,UnitedStatesCode,Section37424b).However,iftheUnitedStatesappealsthe
     Defendant'ssentencepursuanttoSection3742(b),theDefendantshallbereleasedfrom theabove
     waiverofappellate rights. By signing this agreement,the Defendantaclçnowlcdgcs thathe has

     discussed the appealwaivcrsetfol-th in thisagreementwith l'
                                                               lis attonley. The Defendantftu-ther

     agrees,togetherw ith the Ullited States,to requestthatthe districtCoul'tentera specific finding

     thatthe Defendant's waiver of his rightto appealthe sentence to be imposed in this case was

     lcnowing and voluntary.

                                                   12
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 13 of 14




             23.    For purposes ofcrim inalprosecution,this Plea Agreementshallbe binding and

     enforceablcupon the Fraud Section oftheCrim inalDivision ofthe United StatesDepartmentof

     Justice and the United States Attom ey'sOfficc forthe Southel'n DistrictofFlotida. Tht United

     States doesnotrelease Defendantfrom any claim s underTitle 26,United States Code. Further,

     this Agreementin no w ay lim its,binds,orothelw ise affectsthe rights,pow ers orduties ofany

     state orlocallaw enforcem entagency orany administrativeorregulatory authority.
                                                                          .




             24.    The Defendantagrees thatifhe failsto com ply wit,llany ofthe provisionsofthis

     agreem ent,illcluding the failureto
                                       'tendersuch agrcementto the Court,m akesfalse orm isleading

     statem entsbeforethe Courtorto any agentsofthe United States,com m itsany furthercrim es,or

     attemptstowithdraw theplea(priortooraherpleadinggailtytothecharges'
                                                                       ideatifiedinparagraph
     one(1)above),theGovenunentwillhavetherighttocharactelizesuchconductasabxeachofthis
     agreement.Intheeventofsuchabreach;(a)theGovcrnm'entwillbqfreefrom itsobligations
     under the agreement and further m ay take whatever position it believes appropliate as to the

     sentenceandtheconditionsoftheDefendant'srelease(forexample,shouldtheDefendantcommit
     any conduct after the date of this agreem ent thatwould form the basis for an increase in the

     Defendant'soffenselevelorjustifyanupwarddepalïure-examplesofwhichincludcbutare'not
     limitedto,obstlnzctionofjustice,failuretoappearforacout-tproceeding,.criminalconductwhile
     pendingsentencing,and falsestatem cntsto 1aw enforcem entagents,thepm bation officer,orCourt

     -   the Govermnentis free underthis agreementto seek an increase in the offense levelbased on

     thatpost-agrcementconduct);@)theDefendantwillnothavetherighttowithdraw theguiltyplea;
     (c)theDefendantshallbefullysubjecttocrilninalprosecutionforanyothercrimeswhichhehas
     committed orlnightcommit,ifany,including perjuryand obstl-uction ofjustice;and (d)the

                                                   13
Case 1:18-cr-20773-KMW Document 10 Entered on FLSD Docket 10/03/2018 Page 14 of 14




     DefendantwaivesahyprotectionsaffördedbySedion1B1.g(a)oftheSebtùncingGxlidélincg,Rule
     11017
         .tllçFvderalRulesofCriminalProcedm'
                                           vàndRvle410oftheFedçrqlRulesofEvidence,alld

     theGövernmçhtwillbefteettltweagainsttlleDefelldant,(Ikectlyi
                                                                andindgrectly,in any criminal
     orcivilptocuedilzgany of-theinfbtnption,statem çats,andmateualsprovidedbyhkupuràuautto

     tllisggreement,includingoffeting lnto evidettceorotherwisqusiqg tlw qttached Agreed Factual
     BasisforGuilty Plea.
           25.       Thisistheentkeagreemelltandunderstandillg betweentheUnited Statcsand the
     Defqndmat.Tlml-eareno otheragreemenls,promises,represfmtationsorundzrstandings.
                                           RANDY HUM M EL
                                           EXECUTIVE ASSISTANT U .S.ATTORN EY
                                           SOUTHERN DISTRICT OF FLORIDA

                                           SANDM M OSER
                                           AUTW G URI F
                                           U.S:DEPARTV ENT OF JUSTICB
                                           CRl t A ? DTVIStON ,FRAUD SECTION


     Ilatt:-4 .
              çjhkz                     By:                                  ;--j kö 3j $#
                                             ELIZ E7rH YUUNU
                                             DRE BRXDYLYON:
                                             TRIAL ATTORNEYS
                                             U.S.DEPARTMENT OF JUSTICE
                                             CRIMm AL DM SION,FRAUD SECTION


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                                        By:JERO .,E ALLEN
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